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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

UNITED STATES OF AMERICA                                            NO. 4:20-CR-00269-Y

v.

ERIC KAY

                       GOVERNMENT’S AMENDED WITNESS LIST 1

          The United States of America (the “government”) hereby submits the following

proposed witness list:

                                             Probable Witnesses
    No.      Name / Position                                   Subject Matter of Testimony                  Expert
    1        Mohan Aruva                                       Analysis of pink pills found in
             Quality Control Analyst                           T.S.’s room matches
             KVK-Tech, Inc. (former)                           commercially approved lot
                                                                                                               X
                                                               manufactured by KVK-Tech,
                                                               were not counterfeit, and did
                                                               not contain fentanyl.
    2        Cameron Bedrosian                                 Interactions with T.S. and
             Los Angeles Angels                                interactions with Eric Kay.
             Anaheim, California                               Will testify that Eric Kay
                                                               distributed drugs believed to be
                                                               oxycodone to T.S. and others;
                                                               and lingo used when referring
                                                               to oxycodone pills.




1
 This list is amended to reflect the correct division and to include one additional witness, Geoffrey Lindenberg-
Drug Enforcement Administration, for potential testimony regarding witness interviews and investigative steps.


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 3        Matthew Birch                        Eric Kay’s demeanor and
          Los Angeles Angels                   performance of work duties
          Anaheim, California                  before and after the death of
                                               T.S.; travel duties for Angels
                                               Communications Department
                                               staff; Communications
                                               Department interaction with
                                               players and staff while in
                                               California and while traveling
                                               with the Angels team.
 4        Jonathan Bishop                      Analysis of blue and pink pills
          Forensic Chemist                     and white powder residue
          Tarrant County Medical               collected from the crime scene.     X
          Examiner’s Office
          Fort Worth, Texas
 5        Sarah Blum                           Custodian of records.
          Southlake Police Department 911
          Center
          Southlake, Texas
 6        Chris Branham                        Response to 911 call at Hilton
          Officer                              Hotel in Southlake, Texas on
          Southlake Police Department          July 1, 2019.
          Southlake, Texas
 7        Kevin Brown                          Details of the investigation;
          Group Supervisor/Task Force          potential rebuttal; statements of
          Officer                              the defendant.
          Drug Enforcement Administration
          Tarrant County District Attorney’s
          Office
          Fort Worth, Texas
 8        Gary Burleson                        Southlake Hilton hotel
          Assistant General Manager            payment records and other
          (former)                             Hilton hotel records.
          Southlake Hilton




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 9        Al Castro, or other qualified Angels   Identification, description,
          records custodian                      location, and authentication of
          Senior Director, Information           documents and records of the
          Technology                             Los Angeles Angels
          Angels Baseball, LP                    organization.
          Anaheim California
 10       Adam Chodzko                           Eric Kay’s demeanor and
          Los Angeles Angels                     performance of work duties
          Anaheim, California                    before and after the death of
                                                 T.S.; Eric Kay’s statements
                                                 about attending rehab for
                                                 opioid addiction; layout of
                                                 Angels Stadium and pre- and
                                                 post-game procedures for
                                                 communications department;
                                                 travel duties for
                                                 communications department;
                                                 actions taken on July 1, 2019
                                                 after learning of the death of
                                                 T.S.; statements made and
                                                 actions taken by Eric Kay after
                                                 the death of T.S.
 11       Christina Couke-Garza                  Chain of custody.
          Tarrant County Medical
          Examiner’s Office
          Fort Worth, Texas
 12       Mark Coulter                           Southlake Hilton hotel
          General Manager                        payment records and other
          Southlake Hilton                       Hilton hotel records.
 13       Christopher Cron                       Interactions with T.S. and
          Los Angeles Angels (former)            interactions with Eric Kay.
          Anaheim, California                    Will testify that Eric Kay
                                                 provided drugs believed to be
                                                 oxycodone to T.S. and others;
                                                 lingo used when referring to
                                                 oxycodone pills; and
                                                 communications with T.S. and
                                                 Eric Kay about oxycodone.




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 14       Matthew Desaracho                 Investigation of Eric Kay for
          Special Agent                     distribution of controlled
          Drug Enforcement Administration   substances resulting in death of
          Fort Worth, Texas                 T.S., investigative records,
                                            including phone and bank
                                            records; potential rebuttal.
 15       Angela DeTulleo                   The lab results of substances
          Senior Forensic Chemist           found on items in Eric Kay’s
          Drug Enforcement Administration   desk; analysis of pink pills and    X
          South Central Laboratory          blue pill found in T.S.’s room.
          Dallas, Texas
 16       Michael Ferry                     Investigation of Eric Kay for
          Special Agent (retired)           distribution of controlled
          Drug Enforcement Administration   substances resulting in death of
                                            T.S.; investigative records
          Fort Worth, Texas                 related to the investigation
                                            regarding the death of T.S.;
                                            search of Eric Kay’s office;
                                            potential testimony related to
                                            interviews conducted by the
                                            DEA and investigative team;
                                            and news coverage of
                                            investigation.
 17       Dr. Richard Fries                 Review of the autopsy of T.S.;
          Deputy Chief Medical Examiner     the critical case review
          Tarrant County Medical            procedures before finalizing
          Examiner’s Office                                                     X
                                            the T.S. autopsy and the critical
          Fort Worth, Texas                 case review of the T.S.
                                            autopsy.
 18       Jaso Gaines                       Details regarding the autopsy
          Tarrant County Medical            of T.S., including taking
          Examiner’s Office (former)        samples for further testing.
          Fort Worth, Texas
 19       Kaleb Gillian                     Response to 911 call at Hilton
          Southlake Fire EMT (former)       Hotel in Southlake, Texas and
          Southlake, Texas                  death determination.




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 20       Delaney Green                  Investigation into the death of
          Corporal                       T.S. on July 1, 2019;
          Southlake Police Department    interviews with Angels team
                                         and staff, including Eric Kay;
          Southlake, Texas               chain of custody; interviews of
                                         family; statement of the
                                         defendant and evidence
                                         collection and review.
 21       Dr. Stacey Hail, MD, FACMT     Will provide medical
          Emergency Medical Physician    toxicology expert testimony
                                         that the fentanyl ingested by
          Board Certified Medical        T.S. was a but-for cause of his
          Toxicologist                   death; contents of expert          X
          Parkland Memorial Hospital     report.
          UT Southwestern
          Dallas, Texas
 22       Ryan Hamill                    T.S.’s injuries and difficulty
          Los Angeles, California        managing and playing through
                                         pain; contract status; potential
                                         rebuttal.
 23       Stefan Hare                    Performing download and
          United States Secret Service   extraction of iPhones,
                                         including the iPhone of T.S.
          Las Colinas, Texas             and others; and extraction and
                                         analysis of: iCloud accounts,      X
                                         cloud storage accounts, cell
                                         phones, evidence extracted
                                         from phones, and data from
                                         internet service providers.
 24       John Harris                    Review of forensic analysis of
          Senior Forensic Chemist        white powder residue collected
                                         at the crime scene.                X
          Tarrant County Medical
          Examiner’s Office
          Fort Worth, Texas




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 25       Matthew Harvey                 Interactions with T.S. and
          Los Angeles Angels (former)    interactions with Eric Kay.
          Anaheim, California            Will testify that Eric Kay
                                         provided drugs believed to be
                                         oxycodone to T.S. and others;
                                         knowledge of T.S. oxycodone
                                         use; lingo used when referring
                                         to oxycodone pills; and
                                         communications with Eric Kay
                                         about oxycodone.
 26       LeAnne Hazard                  Analysis of T.S.’s body fluid
          Forensic Toxicologist          samples collected during the
                                         autopsy, including for the         X
          Tarrant County Medical         presence of oxymorphone,
          Examiner’s Office              oxycodone, and fentanyl.
          Fort Worth, Texas
 27       Andrew Heaney                  Attempts to contact T.S. on
          Los Angeles Angels (former)    July 1, 2019, background on
                                         T.S. and interactions with T.S.
          Los Angeles, California        and Eric Kay.
 28       Susannah Herkert               Pharmaceutical diversion and
          Senior Director                compliance expert will testify
                                         regarding oxycodone and
          Guidepost Solutions            fentanyl distribution; methods
          Washington, D.C.               employed by individuals
                                         engaged in the illegal
                                         distribution of controlled
                                         substances; the monetary value
                                         of illegally diverted controlled
                                         substances; “tools of the trade”   X
                                         used by individuals involved in
                                         the illegal distribution of
                                         controlled substances; the
                                         manner and methods by which
                                         individuals obtain and use
                                         controlled substances as well as
                                         indicators that an individual
                                         may be illegally obtaining and
                                         using controlled substances.




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 29       Debbie Hetman                     Traveling to Texas to see her
          Santa Monica, California          son’s body, providing code to
                                            unlock T.S.’s iPhone,
                                            communications with T.S.,
                                            T.S.’s history, and her
                                            interactions with SLPD.
 30       Leticia Hidalgo                   Chain of custody.
          Tarrant County Medical
          Examiner’s Office
          Fort Worth, Texas
 31       Burshuana Hill                    Chain of custody.
          Tarrant County Medical
          Examiner’s Office
          Fort Worth, Texas
 32       Susan Howe                        Review of analysis of
          Crime Laboratory Director         examination of Southlake
                                                                               X
          Tarrant County Medical Examiner   Hilton key cards and Bic pen
          Fort Worth, Texas                 for latent prints.
 33       Mike Hutchinson                   Southlake Hilton key card and
          Hotel Manager (former)            room information and related
                                            records; hotel layout; payment
          Southlake Hilton                  transaction records; and
          Southlake, Texas                  absence of video cameras.
 34       Logan Jamison                     Review of lab analysis of
          Forensic Chemist                  substances on items found in
                                            Eric Kay’s desk.
          Drug Enforcement Administration                                      X
          South Central Laboratory
          Dallas, Texas
 35       Dr. Robert Johnson                Analysis of T.S.’s blood, urine,
          Toxicologist                      and other fluids and items
                                            collected during the autopsy
          Tarrant County Medical                                               X
                                            and from the crime scene.
          Examiner’s Office
          Fort Worth, Texas
 36       Charles Knight                    Events of June 30-July 1, 2019,
          Head of Security                  welfare check on T.S., travel
          Los Angeles Angels                and security procedures,
          Tennessee                         contents of room and T.S.
                                            personal items; interactions
                                            with Eric Kay.



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 37       Dr. Marc Krouse                   Preparation of the autopsy
          Tarrant County Medical            report of T.S. and cause of
          Examiner’s Office (former)        death included in report.          X
          Fort Worth, Texas
 38       Beryl Landry                      Performed ELISA toxicology
          Forensic Toxicologist             screening and results of the
          Tarrant County Medical            screening.                         X
          Examiner’s Office
          Fort Worth, Texas
 39       Chris Leanos                      Leanos’s whereabouts on June
          Santa Monica, California          27-30, 2019, phone records,
                                            travel, and interactions with
                                            T.S.
 40       Baldomero Leanos                  Potential rebuttal.
          Santa Monica, California


 41       Connie Lewis                      Analysis of body fluid samples
          Senior Forensic Toxicologist      collected during T.S.’s autopsy,
          Tarrant County Medical            including base toxicology          X
          Examiner’s Office                 screening.
          Fort Worth, Texas
 42       Geoffrey Lindenberg               Potential witness regarding
          Special Agent                     witness interviews,
          Drug Enforcement Administration   investigative steps, and
                                            rebuttal.
          Fort Worth, Texas
 43       Dr. Richard Luceri                Will provide expert testimony
          Cardiologist                      that a cardiac-initiated event
                                                                               X
                                            did not play any role in the
          Ft. Lauderdale, Florida           death of T.S.
 44       Jonathan Macheca                  Investigation into the death of
          Sergeant                          T.S. on July 1, 2019;
                                            interviews with Angels team
          Southlake Police Department       and staff; chain of custody;
          Southlake, Texas                  interviews of family,
                                            statements of the defendant and
                                            evidence collection; and news
                                            coverage of investigation.




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 45       Aria McCall                         Chain of custody; process and
          Tarrant County Medical Examiner’s   procedures of evidence intake
          Office                              and analysis; policy and
                                              procedures relating to case
          Fort Worth, Texas                   assignment and analyses.
 46       John W. McIllroy                    Review of lab analysis of
          Senior Forensic Chemist             substances found on items in
                                              Eric Kay’s desk.
          Drug Enforcement Administration                                        X
          South Central Laboratory
          Dallas, Texas
 47       Tim Mead                            Eric Kay’s performance of his
          Former Head of Public Relations     duties in the communications
                                              department; Eric Kay’s
          Los Angeles Angels                  hospitalization for opioid
          Anaheim, California                 addiction; communications
                                              after the death of T.S.
 48       John Menon                          Reviewed analysis of pink pills
          KVK-Tech, Inc.                      found in T.S.’s room that found
                                              the pills match commercially
                                              approved lot manufactured by       X
                                              KVK-Tech, were not
                                              counterfeit, and did not contain
                                              fentanyl.
 49       Nina Miles                          Travel to Texas after the death
          Santa Monica, California            of T.S.; interactions at SLPD;
                                              turning T.S.’s cell phone and
                                              password over to law
                                              enforcement; potential rebuttal.
 50       Michael Morin                       Interactions with T.S. and
          Los Angeles Angels (former)         interactions with Eric Kay.
          Anaheim, California                 Will testify that Eric Kay
                                              provided drugs believed to be
                                              oxycodone to T.S. and others;
                                              lingo used when referring to
                                              oxycodone pills; and
                                              communications with Eric Kay
                                              about oxycodone.




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 51       Michael Morley                    Review of lab analysis of
          Supervisory Forensic Chemist      substances found in Eric Kay’s
                                            desk.
          Drug Enforcement Administration                                     X
          South Central Laboratory
          Dallas, Texas
 52       Scott Mosley                      Transportation of T.S.’s body
          Accucare Mortuary Service         to the Tarrant County M.E.’s
          (former)                          Office.
          Decatur, Texas
 53       Gaylon Music                      Response to 911 call at Hilton
          Sergeant                          Hotel in Southlake, Texas on
          Southlake Police Department       July 1, 2019.
          Southlake, Texas
 54       Lisa Garcia Nunez                 Custodian of Records: Tarrant
          Records Manager                   County Medical Examiner’s
                                                                              X
                                            report and records with respect
          Tarrant County Medical Examiner   to the death of T.S.
 55       Dan Ogden                         Analysis and extraction of data
          DOJ Cyber Crime Lab               from cell phone, network, and     X
          Washington, D.C.                  internet providers.
 56       Michelle O’Neal                   Review of forensic analysis of
          Forensic Chemist                  blue and pink pills collected
                                            from the crime scene.
          Tarrant County Medical                                              X
          Examiner’s Office
          Fort Worth, Texas
 57       Blake Parker                      Interactions with T.S. and
          Los Angeles Angels (former)       interactions with Eric Kay.
          Anaheim, California               Will testify that Eric Kay
                                            provided drugs believed to be
                                            oxycodone to T.S. and others;
                                            lingo used when referring to
                                            oxycodone pills.




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 58       Vishnuvardhana Polisetti      Approved analysis of pink pills
          KVK-Tech, Inc. (former)       found in T.S.’s room that found
                                        the pills match commercially
                                        approved lot manufactured by       X
                                        KVK-Tech, were not
                                        counterfeit, and did not contain
                                        fentanyl.
 59       Garet Ramos                   History and relationship with
          Phoenix, Arizona              T.S., traveling to Texas after
                                        T.S.’s death, unlocking T.S.’s
                                        iPhone, and T.S.’s text
                                        messages.
 60       Garrett Richards              Interactions with T.S. and
          Los Angeles Angels (former)   interactions with Eric Kay.
          Anaheim, California           Will testify that Eric Kay asked
                                        him for unused oxycodone
                                        pills.
 61       Thomas Roberson               Evidence collection and crime
          Detective                     scene investigation of the death
          Southlake Police Department   of T.S. at the Southlake Hilton
          Southlake, Texas              Hotel on July 1, 2019.

 62       David Roose                   Acquisition, extraction, and
          Drug Enforcement Agency       analysis of data from cell
                                                                           X
          Computer Lab                  phone, network, and internet
                                        providers.
 63       Jim Saenz                     Travel security procedures for
          Team Staff                    the Los Angeles Angels and
          Los Angeles Angels            whether items were removed
          Anaheim, California           from room 469 at the Hilton
                                        Hotel in Southlake on July 1,
                                        2019.
 64       Rebecca Schoeny               Layout of Angels Stadium;
          Anaheim, California           location of players and staff
                                        after games.
 65       Kathryn Scott                 Analysis for the presence of
          Forensic Toxicologist         ethanol in body fluid samples
          Tarrant County Medical        collected from T.S.’s body.        X
          Examiner’s Office
          Fort Worth, Texas

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 66       Madison Sedlak                    Transportation and acceptance
          Tarrant County Medical            of T.S.’s body to the Tarrant
          Examiner’s Office (former)        County M.E.’s Office.
          Fort Worth, Texas
 67       Mark Sedwick                      Collection of phone toll and
          Special Agent                     location records; analysis of
          Federal Bureau of Investigation   phone records and location data
          Dallas, Texas                     to determine locations of          X
                                            phones during time periods
                                            relevant to the investigation
                                            and prior to the death of T.S.
 68       Carli Skaggs                      Layout of Angels Stadium;
          Santa Monica, California          interaction with T.S. before and
                                            after games; interaction with
                                            T.S. on June 30 through July 1,
                                            2019; T.S.’s demeanor and
                                            relationship with T.S.;
                                            traveling to Texas to identify
                                            the body of her husband;
                                            interactions with Southlake
                                            P.D. and unlocking T.S.’s
                                            iPhone.
 69       Senora Spencer                    Chain of custody for evidence
          Evidence Technician               collected in the T.S. death
          Southlake Police Department       investigation.
          Southlake, Texas
 70       Tom Taylor                        Events of June 30-July 1, 2019;
          Traveling Secretary               Eric Kay’s behavior and
          Los Angeles Angels                demeanor at work; layout of
          Anaheim, California               Angels Stadium; and travel and
                                            lodging logistics.
 71       Cory Teague                       Response to 911 call at Hilton
          EMT                               Hotel in Southlake, Texas and
          Southlake Fire Department         death determination.
          Southlake, Texas




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 72       Randy Thomas                      Securing and investigating
          Captain                           crime scene regarding the death
          Southlake Police Department       of T.S. at the Southlake Hilton
          Southlake, Texas                  Hotel on July 1, 2019.

 73       William Walker                    Examination of Southlake
          Senior Latent Print Examiner      Hilton key cards and Bic pen
          Tarrant County Medical            for latent prints.                  X
          Examiner’s Office
          Fort Worth, Texas
 74       Shirley Welch                     Transportation of T.S.’s body
          Accucare Mortuary Service         to the Tarrant County M.E.’s
          Fort Worth, Texas                 Office.
 75       Cheryl Wheeler                    Reviewed toxicology case
          Forensic Toxicologist             folder for T.S.’s autopsy and
          Tarrant County Medical            quality control processes for       X
          Examiner’s Office                 the lab.
          Fort Worth, Texas
 76       Devron Williams                   Potential rebuttal; statements of
          Supervisory Special Agent         the defendant.
          Drug Enforcement Administration
          Fort Worth, Texas
 77       Adriana Wood                      Processing and photographing
          Death Investigator                of the crime scene at Southlake
          Tarrant County Medical Examiner   Hilton Hotel on July 1, 2019.
          Fort Worth, Texas
 78       Weston Wood                       Evidence collection and crime
          Officer                           scene investigation of the death
          Southlake Police Department       of T.S. at the Southlake Hilton
          Southlake, Texas                  Hotel on July 1, 2019.

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                                    Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing will be served on counsel for the

defendant in accordance with the Federal Rules of Criminal Procedure on the 6th day of

February, 2022.

                                                s/Lindsey Beran                  .
                                                Lindsey Beran
                                                Assistant United States Attorney




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